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UNITED STATES DISTRICT COURT                                        USDC SDNY
SOUTHERN DISTRICT OF NEW YORK                                       DOCUMENT
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 JAMES H. BRADY,                                                :   DOC #:
                                                                :   DATE FILED: 9/21/2018
                                              Plaintiff,        :
                                                                :       18-CV-8459 (VEC)
                            -against-                           :
                                                                :           ORDER
 GEOFFREY S. BERMAN,                                            :
                                                                :
                                              Defendant. :
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VALERIE CAPRONI, United States District Judge:

        WHEREAS on February 3, 2017, a Court in this District enjoined Plaintiff from “filing

new actions . . . that relate in any way to the cooperative’s air rights appurtenant to his

cooperative unit at 450 West 31st Street, New York, New York” and directed that the injunction

“should be broadly construed to bar the filing without leave of this Court of any case, against any

defendant that has as a factual predicate the cooperative’s air rights appurtenant to Plaintiff's

penthouse unit, or any of the collateral actions that have arisen from it” (see Brady v. John

Goldman, Esq. et al., No. 16-CV-2287, Dkt. 85, aff’d, Dkt. 87); and

        WHEREAS on September 17, 2018, Plaintiff filed the Complaint in this case, bringing

allegations arising out of the air rights of his cooperative unit;

        IT IS HEREBY ORDERED THAT:

        1.       No later than October 5, 2018, Plaintiff must show cause why this case should

not be dismissed pursuant to the pre-suit injunction entered in Brady v. John Goldman, Esq. et

al., No. 16-CV-2287, Dkt. 85. If Plaintiff fails to show cause by that time, this case will be

dismissed with prejudice.
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     2.    The Clerk is respectfully directed to mail a copy of this Order to Plaintiff.

SO ORDERED.
                                                        _______________________
                                                      ________________________
Date: September 21, 2018                                 VALERIE CAPRONI
      New York, New York                               United States District Judge




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